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                                                            United States Page:
                                                                          Court1of Appeals
                                                                     Tenth Circuit

                                                                    August 31, 2009
                                        PUBLISH                   Elisabeth A. Shumaker
                                                                      Clerk of Court
                      UNITED STATES COURT OF APPEALS

                                 TENTH CIRCUIT


      LINDSEY K. SPRINGER,

                Petitioner-Appellant,

      v.                                                  No. 08-9004

      COMMISSIONER OF INTERNAL
      REVENUE,

                Respondent-Appellee.


              APPEAL FROM THE UNITED STATES TAX COURT
                        (Tax Court No. 17707-06L)


  Submitted on the briefs: *

  Jerold Barringer, Nokomis, Illinois for Petitioner-Appellant.

  Nathan J. Hochman, Assistant Attorney General, Michael J. Haungs, Laurie
  Snyder, Attorneys, Tax Division, Department of Justice, Washington, D.C., for
  Respondent-Appellee.


  Before KELLY, McKAY, and BRISCOE, Circuit Judges.


  McKAY, Circuit Judge.


  *
         After examining the briefs and appellate record, this panel has determined
  unanimously that oral argument would not materially assist the determination of
  this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is
  therefore ordered submitted without oral argument.
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        In this tax case arising under the Internal Revenue Code, Lindsey K.

  Springer appeals the Order and Decision entered by the United States Tax Court

  granting summary judgment in favor of the Commissioner of Internal Revenue on

  Mr. Springer’s challenges to collection due process determinations issued by the

  Internal Revenue Service’s Office of Appeals. The determinations permit the IRS

  to proceed to collect by levy Mr. Springer’s delinquent federal income tax

  liabilities for 1990 through 1995 and a penalty imposed by the Tax Court in 1996

  under 26 U.S.C. § 6673(a)(1) in a prior proceeding. Exercising jurisdiction under

  26 U.S.C. § 7482(a)(1), and having reviewed the Tax Court’s grant of summary

  judgment de novo, see Scanlon White, Inc. v. Comm’r, 472 F.3d 1173, 1174

  (10th Cir. 2006), we affirm.

                                            I.

        The extensive background of this case, as well as three prior related cases

  that Mr. Springer filed in federal district court and also appealed to this court,

  see Springer v. Internal Revenue Serv., 231 F. App’x 793 (10th Cir. 2007), is

  thoroughly set forth in the Commissioner’s response brief, see Aplee. Br. at v-vi,

  4-16, and we will not repeat it here.




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                                            II.

        As correctly noted by the Commissioner, the overarching issue in this case

  is “[w]hether the Tax Court correctly sustained the determinations of the IRS

  Office of Appeals upholding the proposed collection by levy of [Mr. Springer’s]

  federal income tax liabilities for [1990] through 1995 and an I.R.C. § 6673

  penalty.” Aplee. Br. at 4. Mr. Springer is challenging the Tax Court’s

  determinations, claiming that he is not liable for the penalties and interest that the

  IRS has imposed in connection with the assessed income tax deficiencies because

  the IRS Form 1040 for each of the subject tax years did not comply with the

  requirements of the Paperwork Reduction Act (PRA), 44 U.S.C. §§ 3501-3549. 1

  More specifically, Mr. Springer claims that § 3512 of the PRA provides him with

  a complete defense to at least part of his tax liabilities. 2 Section 3512 is entitled

  “Public protection” and it provides as follows:

        (a) Notwithstanding any other provision of law, no person shall be
        subject to any penalty for failing to comply with a collection of
        information [from a federal agency] that is subject to this subchapter

  1
         Although Mr. Springer appears to raise additional challenges in the reply
  brief that he submitted to this court, we will consider only the challenges raised in
  his opening brief, and those challenges are based solely on his arguments under
  the PRA. See Coleman v. B-G Maint. Mgmt. of Colorado, Inc., 108 F.3d 1199,
  1205 (10th Cir. 1997) (“Issues not raised in the opening brief are deemed
  abandoned or waived.”).
  2
         Although Mr. Springer argues in this appeal that his PRA claims for tax
  years 1990-1994 are governed by the version of 44 U.S.C. § 3512 that was in
  effect before the PRA was amended in 1995, any differences between the pre- and
  post-1995 versions of the statute are not relevant to this appeal.

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        if--

               (1) the collection of information does not display a valid
               control number assigned by the Director [of the Office
               of Management and Budget] in accordance with this
               subchapter; or

               (2) the agency fails to inform the person who is to
               respond to the collection of information that such person
               is not required to respond to the collection of
               information unless it displays a valid control number.

        (b) The protection provided by this section may be raised in the form
        of a complete defense, bar, or otherwise at any time during the
        agency administrative process or judicial action applicable thereto.

  44 U.S.C. § 3512.

        Because the arguments set forth in Mr. Springer’s opening brief are

  ambiguous in terms of the scope of his challenges under the PRA, and in order to

  fully resolve all possible issues under the PRA, we will assume that Mr. Springer

  is challenging all of the amounts that are set forth in the final notice of intent to

  levy that the IRS sent to him in March 2005. 3 As set forth in the Commissioner’s

  response brief, see Aplee. Br. at 7, those amounts include: (1) the unpaid amounts

  owed from prior notices, which include: (a) the deficiency amounts that were


  3
         Mr. Springer’s arguments under the PRA appear to be limited to the new
  claims for additional penalties and interest that the IRS imposed in March 2005
  under 26 U.S.C. §§ 6651(a)(3) and 6601(a) in connection with the proposed levy.
  However, given the amount of money that Mr. Springer claims is at issue in this
  appeal, see Opening Br. at 4 (challenging “over $200,000 in penalty additions”),
  it also appears that he may be challenging certain aspects of the initial penalties
  and interest that were assessed in May 1997. Out of an abundance of caution, we
  will assume the latter is the case.

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  assessed in May 1997 for each of the tax years in question; (b) the initial

  penalties for failing to file income tax returns and underpayment of estimated tax

  that were assessed in May 1997 under 26 U.S.C. §§ 6651(a)(1) and 6654(a) for

  each of the tax years in question; and (c) the initial interest that was assessed in

  May 1997 under 26 U.S.C. § 6601(a) for each of the tax years in question;

  (2) the additional failure-to-pay penalties that were imposed in March 2005 under

  26 U.S.C. § 6651(a)(3) for each of the tax years in question; and (3) the

  additional interest that was imposed under 26 U.S.C. § 6601(a) in March 2005 for

  each of the tax years in question.

        We conclude that Mr. Springer does not have a valid challenge under the

  PRA to any of these amounts. First, because it is undisputed that Mr. Springer

  received notices of deficiency for each of the tax years in question, see R., Doc.

  4, Ex. 2E at 1, which he unsuccessfully challenged in the Tax Court and this

  court, id., Ex. 2E at 2 and 2F, he was statutorily barred from challenging his

  underlying tax liabilities during his collection due process hearing, and those

  liabilities included the penalties and interest that were assessed in May 1997.

  See 26 U.S.C. § 6330(c)(2)(B) (providing that a taxpayer may challenge “the

  existence or amount of [his] underlying tax liability” during a collection due

  process hearing only if he “did not receive any statutory notice of deficiency for

  such tax liability or did not otherwise have an opportunity to dispute such

  liability”); Montgomery v. Comm’r, 122 T.C. 1, 7-8 (2004) (concluding that term

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  “underlying tax liability” in § 6330(c)(2)(B) refers to amounts assessed following

  issuance of notice of deficiency and includes statutory interest and penalties). 4

        Second, while § 6330(c)(2)(B) does not bar Mr. Springer from challenging

  the additional failure-to-pay penalties that were asserted in the March 2005 final

  notice of levy since those penalties did not exist and thus were not at issue at the

  time of the prior Tax Court deficiency proceedings, Mr. Springer has not alleged

  any cognizable PRA violations with respect to those penalties. Instead, the only

  PRA violations he asserts concern the IRS Form 1040. The failure-to-pay

  penalties have an independent and separate statutory basis under the Internal

  Revenue Code, however, that is not based on Mr. Springer’s failure to file Form

  1040s for the tax years in question. As their name plainly indicates, they are

  based on Mr. Springer’s subsequent failure to pay assessed amounts. See

  26 U.S.C. § 6651(a)(3). Consequently, because Mr. Springer has failed to

  articulate any cognizable violation of the PRA in connection with the imposition

  of the failure-to-pay penalties, § 3512(a) of the PRA provides him with no

  protection from those penalties.


  4
         Subsection (b) of the public protection provision in the PRA does not alter
  this result. See 44 U.S.C. § 3512(b) (quoted above). While that provision
  obligates federal “agencies and courts [to] entertain [PRA] arguments that would
  otherwise have been barred either by a statute of limitations or by the proponent’s
  failure to have made the argument at an earlier stage in the administrative or
  judicial process,” Saco River Cellular, Inc. v. FCC, 133 F.3d 25, 30-31 (D.C. Cir.
  1998), it does not limit the force and effect of a more specific and different type
  of statutory bar such as the one in 26 U.S.C. § 6330(c)(2)(B).

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        Finally, with regard to the additional interest that was imposed in March

  2005 under 26 U.S.C. § 6601(a) for each of the tax years in question, we agree

  with the Commissioner that the additional interest is not a “penalty” as that term

  is used in § 3512(a) of the PRA. See Aplee. Br. at 24 n.9. Although we have not

  found any case law addressing this issue, we conclude that the imposition of

  interest under the Internal Revenue Code does not fall within the PRA’s statutory

  definition of the term “penalty.” See 44 U.S.C. § 3502(14) (“the term ‘penalty’

  includes the imposition by an agency or court of a fine or other punishment; a

  judgment for monetary damages or equitable relief; or the revocation, suspension,

  reduction, or denial of a license, privilege, right, grant, or benefit.”). This is

  consistent with the “clearly established principle that interest [imposed under the

  Internal Revenue Code] is not a penalty but is intended only to compensate the

  Government for delay in payment of a tax.” Avon Prods., Inc. v. United States,

  588 F.2d 342, 343 (2nd Cir. 1978).

                                            III.

        One final matter remains to be disposed of and that is the Commissioner’s

  motion to impose sanctions against Mr. Springer and his counsel for maintaining

  a frivolous appeal. We deny the motion. Although Mr. Springer’s appellate

  briefs are far from a model of clarity, he has managed to advance several

  arguments in this appeal that raise difficult issues under both the tax code and the

  PRA. As a result, we cannot say that this appeal is sufficiently frivolous to

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  justify the imposition of sanctions.

        While we commend the Commissioner for the extremely helpful statement

  of the case and statement of facts in his response brief, we also note that the

  Commissioner himself has made a frivolous argument in his response brief and

  motion for sanctions that mischaracterizes what happened in Mr. Springer’s prior

  appeal to this court. The Commissioner’s argument is as follows:

        [Mr. Springer] contends that he is protected from income tax
        penalties because the “disclosures required by [the PRA] are not on
        any Form 1040 nor on any non-accompanying, disclaiming,
        non-binding opinion, instruction or treatise.” (Br. 9.) Taxpayer
        made virtually the identical argument in challenging his liability for
        the penalties that are due from him under I.R.C. § 6651(a)(1) for
        failure to file returns for 1990-1995, and this Court rejected it as
        frivolous. Springer, 231 F. App’x at 801, 801 n.6. It is no less
        frivolous when asserted in connection with failure-to-pay penalties.

  Aplee. Br. at 24 (footnote omitted); see also Motion for Sanctions at 6 (making

  same argument).

        The Commissioner is wrong about what happened in the prior appeal. In

  that appeal, we referred to the three underlying cases that had been consolidated

  for appeal as Springer I, Springer II, and Springer III, and we did not address the

  merits of Mr. Springer’s claims under the PRA in any of the three cases. Instead,

  we affirmed the district court’s dismissal of Springer I for lack of subject matter

  jurisdiction, Springer, 231 F. App’x at 797; we affirmed the district court’s

  dismissal of Springer II on the ground that the Tax Court had exclusive

  jurisdiction over the case, id.; and we affirmed the district court’s dismissal of

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  Springer III on the ground that the PRA does not create a private right of action,

  id. at 799. Further, in footnote five in the order and judgment, we specifically

  stated that, “[i]n view of our jurisdictional disposition, we do not reach the merits

  of Springer I and Springer II.” Id. at 799 n.5. And, in footnote 6, the footnote

  cited by the Commissioner in the above-quoted language, we did not state that the

  PRA claims in Springer II were frivolous. Rather, we stated that the appeal in

  Springer II was frivolous due to the obvious jurisdictional defect arising from the

  fact that Mr. Springer had filed Springer II in federal district court when

  exclusive jurisdiction resided in the Tax Court. Id. at 801 n.6. The

  Commissioner is therefore mistaken when he argues that this court addressed the

  merits of Mr. Springer’s PRA claims in the prior appeal, and his argument is

  frivolous given the obvious nature of the three dispositions in that appeal.

        In addition, in his motion for sanctions, the Commissioner states that this

  court sanctioned the taxpayer-plaintiff in Lewis v. Comm’r, 523 F.3d 1272

  (10th Cir. 2008) for making frivolous PRA arguments on appeal. See Motion for

  Sanctions at 6. But the Commissioner is wrong on this point as well. See Lewis,

  523 F.3d at 1278 (“In light of [the] uncertainty in our case law, we decline to

  impose sanctions against Lewis on appeal for raising these specific PRA

  challenges against Form 1040.”).




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         The Order and Decision of the Tax Court is AFFIRMED. The

   Commissioner’s Motion for Sanctions is DENIED. The Commissioner’s Motion

   to Dismiss for Failure to Pay Sanctions is DENIED as moot since Mr. Springer

   has paid the monetary sanction that was imposed against him by this court in his

   prior appeal.




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